     Case: 1:19-cv-02362 Document #: 53 Filed: 08/12/19 Page 1 of 2 PageID #:671




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Mon Cheri Bridals, LLC                          )
                                                )
v.                                              )      Case No.       19-cv-2362
                                                )
Does 1-464                                      )      Judge:         Hon. Jorge L. Alonso
                                                )
                                                )      Magistrate:    Hon. Young B. Kim
                                                )


                                 SATISFACTION OF JUDGEMENT

           Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe         Store Name                Store ID
      20     BessDress                 A034ZDE8FLXSKN4
      24     BridalAffair              A1CLBOTJEUZOEY
      44     Fannydress                A3UP8BH3G61SUB
      49     Flosluna                  https://storenvy.com/stores/1131888-flosluna
      52 hrtshopping                   590d37e24b5a4721d4d479d5
      54 hwq                           593e6018e4154f7b1bb723ad
      80     Meaningful                A2IB5P599KU0K
     109     Special Bridal Wedding    A3MZZKNQBD25OD
     129     YuNuo Dresses             AKLMVMUCBMN1L
     159     boutique_fashion          562f8afe131ed117c44e0097
     266     jing.dress                ALSY46QTYRQLA
     284     liangjinsmkj              AHXAIK53RSIHJ


dismisses them from the suit with prejudice.

Dated this 12th Day of August, 2019.            Respectfully submitted,


                                                By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record
                                                       Counsel for Plaintiff
Case: 1:19-cv-02362 Document #: 53 Filed: 08/12/19 Page 2 of 2 PageID #:671




                                        David Gulbransen (#6296646)
                                        Law Office of David Gulbransen
                                        805 Lake Street, Suite 172
                                        Oak Park, IL 60302
                                        (312) 361-0825 p.
                                        (312) 873-4377 f.
                                        david@gulbransenlaw.com




                                    2
